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                           UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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         LINDA A.,1                              Case No. CV 20-04487 RAO
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                           Plaintiff,
13
               v.                                JUDGMENT OF REMAND
14
         KILOLO KIJAKAZI, Acting
15       Commissioner of Social Security,
16                         Defendant.
17
18            In accordance with the Memorandum Opinion and Order filed concurrently
19   herewith,
20            IT IS ORDERED AND ADJUDGED that the decision of the Commissioner
21   of Social Security is reversed, and the matter is remanded to the Commissioner for
22   further proceedings consistent with the Memorandum Opinion and Order.
23
24   DATED:         September 30, 2021
                                            ROZELLA A. OLIVER
25                                          UNITED STATES MAGISTRATE JUDGE
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27    Partially redacted in compliance with Federal Rule of Civil Procedure 5.2(c)(2)(B)
     and the recommendation of the Committee on Court Administration and Case
28   Management of the Judicial Conference of the United States.
